Case

10
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27

28

P:09-cv-02932-PA-CW Document 50 Filed 02/19/10 Page 1of5 Page ID #:301

Vincent E. Nowak, Texas State Bar No. 15121550
MULLIN HOARD & BROWN, LLP

P.O. Box 31656

Amarillo, TX 79120-1656

Telep hone: (8 06) 372-5050

Pacstmile: (806) 372-5086

Alisa M. Morgenthaler, State Bar No. 146940

GLASER, WEIL, FINK, JACOBS
HOWARD & SHAPIRO, LLP

10250 Constellation Boulevard, 19th Floor

Los Angeles, California 90067

Telephone: (310) 282-6287

Facsimile: (310) 556-2920

Attorneys for Plaintiff
UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

 

DRUVI JAYATILAKA, Case No. CV 09-2932 PA (CWx)
Plaintiff, PLAINTIFF’S DEPOSITION
DESIGNATIONS
Vv.
NATIONAL BOARD OF MEDICAL Trial Date: April 6, 2010
EXAMINERS,
Defendant.
I. PLAINTIFF DRUVI JAYATILAKA’S DEPOSITION DESIGNATIONS.

Pursuant to this Court’s August 3, 2009 Amended Scheduling Order, Plaintiff, Druvi
Jayatilaka hereby submits the following deposition designations to be read into evidence at
trial.

A. Catherine Farmer, Psy.D. Deposition excerpts listed below are attached
hereto as Exhibit A.

1. 4:84:15

 

2. 8:10-8:11

{8070\00\00152736.DOC / 1}

 
 

Case 2:09-cv-02932-PA-CW Document 50 Filed 02/19/10 Page 2 0f5 Page ID #:302

1 3, 9:10-9:24
, 4.  10:4-10:8
3

5. 11:4-11:8
4
5 6. 11:20-11:24
6 7. 13:6-13:13
8. -13:21-13:23
8
9 9, 14:13-14:18
0 10. 14:21-14:23
11 11. 15:24-16:10
12 12. 29:16-29:19
13

13. 33 :8-33:16
14
15 14. 33:19-33:21
16 15. 33:24-34:1
M 16. 47:15-48:4
18

17. 51:6-51:7
19
90 18. 51:10-51:12
21 19. 51:15-51:16
* B. Andrew Jeremiah Levine, Ph.D. Deposition excerpts listed below are
23
oA attached hereto as Exhibit B.
25 1. 11:5-11:11
26 2. 13:5-13:17
27

3, 66:22-67:6
28

{8070\00\00152736.D0C/1}
PLAINTIFF’ S DEPOSITION DESIGNATIONS Page 2

 
Case

10
il
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27

28

 

{8070\00\00152736.DOC / 1}

10.

11.

12.

P:09-Ccv-02932-PA-CW Document 50 Filed 02/19/10 Page 3o0f5 Page ID #:303

69:25—70:12

80:17-80:25

81:8-81:22

90:21-91:25

92:7-94:3

108:6-109:10

122:9-123:4

149:4—150:8

150:24—151:24

IL, DEFENDANT’S OBJECTIONS TO PLAINTIFF DRUVI JAYATILAKA’S
DEPOSITION DESIGNATIONS.

A. Catherine Farmer, Psy.D. Defendant NBME hereby objects to the following

testimony:

1. 10:4-10:8. Objection. Incomplete question and answer.

2. 14:13-14:18. Objection. Ambiguous. Misquotes the witness.
Assumes facts not in evidence.

3, 14:21-14:23, Objection. Ambiguous. Misquotes the witness.
Assumes facts not in evidence.

4, 33:8-33:16. Objection to section 33:15-16. Lacks foundation. Calls
for speculation.

5. 33:19-33:21. Objection. Lacks foundation. Calls for speculation.

6. 33:24-34:1. Objection. Lacks foundation. Calls for speculation.

7. 51:6-51:7. Objection. Calls for speculation.

8. 51:10-51:12. Objection. Calls for speculation.

9. 51:15-51:16. Objection. Calls for speculation.

PLAINTIFF’S DEPOSITION DESIGNATIONS Page 3

 
Case

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27

28

P:09-cv-02932-PA-CW Document 50 Filed 02/19/10 Page 4of5 Page ID #:304

B. Andrew Jeremiah Levine, Ph.D. Defendant NBME hereby objects to the
following testimony:
1, 81:8-81:22. Objection. Lacks foundation. Calls for speculation.
Defendant also counter-designates 81:1-7.

2. 92:7-94:3. Objection to section 93:21-94:3. Calls for speculation.

Dated: February 19, 2010 COOLEY GODWARD KRONISH LLP
GREGORY C. TENHOFF (154553)
WENDY J. BRENNER (198608)

/S/
GREGORY C. TENHOFF (154553)
Attorneys for the Defendant
NATIONAL BOARD OF MEDICAL
EXAMINERS

Dated: February 19, 2010 MULLIN HOARD & BROWN, LLP
JOHN M. BROWN (87985)
VINCENT E. NOWAK (pro hac vice)

 

/S/
VINCENT E, NOWAK
Attorneys for the Plaintiff
DRUVI JAYATILAKA

 

(8070\00\00152736.DOC/ 1}
PLAINTIFF’S DEPOSITION DESIGNATIONS Page 4

 
LAW OFFICES

GLASER, WEIL, FINK, JACOBS, HOWARD & SHAPIRO, LLP

10250 CONSTELLATION BOULEVARD

NINETEENTH FLOOR

IFORNIA 90067

(310) $53-3000

Los ANGELES, CAL

Case

10
1
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27

28

P:09-cv-02932-PA-CW Document 50 Filed 02/19/10 Page 5of5 Page ID #:305

   

 

PROOF OF SERVICE
STATE OF CALIFORNIA
COUNTY OF LOS ANGELES
I am employed in the County of Los Angeles, State of California; I am over the age of 18
and not a party to the within action; my business address is 10250 Constellation Boulevard, 19th

Floor, Los Angeles, California 90067.

On February 19, 2010, at the direction of a member of the Bar of this Court, I served the
within:

PLAINTIFF'S DEPOSITION DESIGNATIONS

on the interested parties to this action by delivering a copy thereof in a sealed envelope addressed to

each of said interested parties at the following address(es):

Gregory C. Tenhoff, Esq.

Cooley, Godward, Kronish, LLP

5 Palo Alto Square

3000 El Camino Real

Palo Alto, CA 94306-2155

(650) 843-5000

(650) 857-0663 (fax)

ix] (BY MAIL) I am readily familiar with the business practice for collection and
processing of correspondence for mailing with the United States Postal Service. This
correspondence shall be deposited with the United States Postal Service this same
day in the ordinary course of business at our Firm's office address in Los Angeles,
California, Service made pursuant to this paragraph, upon motion of a party served,
shall be presumed invalid if the postal cancellation date of postage meter date on the
envelope is more than one day after the date of deposit for mailing contained in this
affidavit.

[| (BY OVERNIGHT DELIVERY SERVICE) I served the foregoing document by Federal
Express, an express service carrier which provides overnight delivery, as follows. I
placed true copies of the foregoing document in sealed envelopes or packages
designated by the express service carrier, addressed to each interested party as set
forth above, with fees for overnight delivery paid or provided for.

[| (BY PERSONAL SERVICE) I caused such envelope to be delivered by hand to the
offices of the above named addressee(s).

L] (BY FACSIMILE) I caused such documents to be delivered via facsimile to the offices
of the addressee(s) at the following facsimile number: .

Executed this 19" day of February, 2010, at Los Angeles, California.
I declare under penalty of perjury under fhe WS i
foregoing is true and correct. .
IKA BARBOUR

 

681863-1

 
